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                     EXHIBIT F
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         Defendant’s Amended Position on Docket Entries 231, 279, 315, 320, & 335
                          (combined with Plaintiff’s Position)

            DATE
DOC. #                 DEFENDANT’S POSITION                    C/I1          PLAINTIFF’S POSITION
            FILED
                                                                          Unseal and redact only (1) medical
                         Redact all quotes from Ms.
                                                                            information and (2) names and
                          Maxwell and Non-Party               C1-1
                                                                           identifying information of Non-
                      deposition testimony, Non-Party         C1-2
 231        6.20.16                                                          Parties who have objected to
                        identifying information, and          C1-3
                                                                          unsealing or whose time to object
                      argument of counsel violative of        C1-4
                                                                           to unsealing has not yet expired.
                         Local Criminal Rule 23.1.
                                                                          Unseal and redact only names and
                                                              C1-1         identifying information of Non-
                        Redact all Non-Party witness
                                                              C1-2           Parties who have objected to
 232        6.20.16        names and identifying
                                                              C1-3        unsealing or whose time to object
                                information.
                                                              C1-4         to unsealing has not yet expired.

                                                                                Unseal and redact only (1)
                                                                               medical information and (2)
                                                                                  names and identifying
                                                                            information of Non-Parties who
                                                                              have objected to unsealing or
                                                                                 whose time to object to
                        Redact all Non-Party witness          C1-1            unsealing has not yet expired.
                           names and identifying              C1-2            Note: The full version of this
232-7       6.20.16                                                       deposition transcript was unsealed
                      information – in same manner as         C1-3
                                DE 1090-32                    C1-4        by this Court on July 30, 2020, DE
                                                                              1090-32. If this excerpt of the
                                                                          transcript is unsealed, it should be
                                                                            redacted in the same way as DE
                                                                           1090-32, but the redactions of the
                                                                          names of Non-Parties whose time
                                                                             to object has expired should be
                                                                                        removed.



   1
     Key:
   CI-1 - Reasonable reliance the Protective Order by a party or non-party.
   CI-2 - Prevention of the abuse of court records and files.
   CI-3 - Annoyance, embarrassment, oppression, undue burden (“Privacy Interests”).
   CI-4 - Preserving the fundamental rights of suspects or others under criminal investigation –
   including due process right to a fair trial and impartial jury unimpaired by excessive publicity,
   release of potentially inadmissible evidence for the Criminal Action, or improper revelation of a
   potential witness or their potential testimony.
   CI-5 - Improper submission of documents thereby weaponizing judicial documents.
   CI-6 - Untrustworthy, unreliable, and incorrect information.
   CI-7 - Non-Judicial Documents.
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           DATE
DOC. #                  DEFENDANT’S POSITION                    C/I1          PLAINTIFF’S POSITION
           FILED
                                                                             Unseal and redact only names
                                                                             and identifying information of
                                                                             Non-Parties who have objected
                                                                              to unsealing or whose time to
                      Keep sealed – Non-Party reliance          C1-1         object to unsealing has not yet
232-8      6.20.16     on Protective Order; potential
                                                                C1-2                     expired.
                                                                C1-3         Note: The Original Parties sent
                          witness in criminal trial             C1-4         the Non-Party deponent (Doe
                                                                            131) notice of unsealing, and the
                                                                               Non-Party deponent did not
                                                                                    request excerpts.


232-9      6.20.16        No objection to unsealing                          Keep sealed (medical records).

232-10     6.20.16        No objection to unsealing                          Keep sealed (medical records).
                                                                                        Unseal.
232-11     6.20.16        No objection to unsealing
                                                                              Note: Original Parties agree.

 255       6.28.16                Not sealed

                          Redact all quotes from Ms.           CI-22       Unseal and redact only (1) medical
                           Maxwell and Non-Party               CI-3          information and (2) names and
                       deposition testimony, Non-Party         CI-4         identifying information of Non-
 257       6.28.16
                         identifying information, and          CI-5           Parties who have objected to
                       argument of counsel violative of        CI-6        unsealing or whose time to object
                          Local Criminal Rule 23.1.            CI-7         to unsealing has not yet expired.

                                                                CI-2
                                                                           Unseal and redact only names and
                                                                CI-3
                                                                            identifying information of Non-
                      Keep sealed – Non-Party reliance          CI-4
 258       6.28.16                                                            Parties who have objected to
                            on Protective Order                 CI-5
                                                                           unsealing or whose time to object
                                                                CI-6
                                                                            to unsealing has not yet expired.
                                                                CI-7


   2
    Ms. Maxwell notes that Response Brief is filled with irrelevant information and misleading
   deposition excerpts that are wholly irrelevant to the underlying motion for sanctions for failure to
   comply with discovery obligations relating to plaintiff’s medical information. These arguments
   were made, and documents filed, for purposes of distraction and harassment, and have nothing to
   do with the issues presented by the motion. This is classic abuse of the courts records and files.
   The Response and Exhibits were not referenced in the Order, and the exhibits are not properly
   considered judicial documents.

                                                    2
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         DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
         FILED
                                                          CI-1
                    Keep sealed – Non-Party reliance      CI-2     Keep sealed until Non-Party
                    on Protective Order & Release of      CI-3      deponent (Doe 151) time to
                        inadmissible information in       CI-4            object expires.
258-1     6.28.16
                     violation of Local Criminal Rule     CI-5    Note: Original Parties agree to
                    23.1; potential witness in criminal   CI-6     keep sealed, but for different
                                    trial                 CI-7               reasons.

                                                                   Keep sealed until Non-Party
                    Keep sealed – Non-Party reliance      CI-2
                                                                    deponent (Doe 160) time to
                    on Protective Order & Release of      CI-3
                                                                          object expires.
                        inadmissible information in       CI-4
258-2     6.28.16
                     violation of Local Criminal Rule     CI-5    Note: Original Parties agree to
                    23.1; potential witness in criminal   CI-6     keep sealed, but for different
                                    trial                 CI-7               reasons.

                                                                   Unseal and redact only names
                    Keep sealed – Non-Party reliance               and identifying information of
                    on Protective Order & Release of              Non-Parties who have objected
                        inadmissible information in       CI-2      to unsealing or whose time to
                     violation of Local Criminal Rule     CI-3     object to unsealing has not yet
258-3     6.28.16
                    23.1; potential witness in criminal   CI-4                 expired.
                    trial and depo testimony potential    CI-5    Note: The Original Parties sent
                    evidence; Second Circuit redacted     CI-6   the Non-Party deponent (Doe 83)
                    this Doe’s name and information;      CI-7   notice of unsealing, and the Non-
                       Non-Party notice returned to                Party deponent did not request
                                   sender                                     excerpts.

                                                                  Unseal and redact only names
                                                                  and identifying information of
                    Keep sealed – Non-Party reliance              Non-Parties who have objected
                                                          CI-2
                    on Protective Order & Release of              to unsealing or whose time to
                                                          CI-3
                        inadmissible information in
                                                          CI-4    object to unsealing has not yet
258-4     6.28.16    violation of Local Criminal Rule
                                                          CI-5               expired.
                    23.1; potential witness in criminal          Note: The deponent is not on the
                                                          CI-6
                      trial and deposition testimony                Non-Party notification list
                                                          CI-7
                             potential evidence                  because he is a law enforcement
                                                                              officer.


                                                                     Unseal but redact medical
258-5     6.28.16       No objection to unsealing
                                                                    information and addresses.




                                                 3
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         DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
         FILED
                                                                     Unseal but redact medical
258-6     6.28.16       No objection to unsealing                   information and addresses.

                                                                 Unseal but redact tax returns and
258-7     6.28.16       No objection to unsealing                           addresses.


258-8     6.28.16       No objection to unsealing                 Keep sealed (medical records).

                                                                   Unseal and redact only names
                    Keep sealed – Non-Party reliance               and identifying information of
                    on Protective Order & Release of
                                                                  Non-Parties who have objected
                        inadmissible information in       CI-2
                                                                    to unsealing or whose time to
                     violation of Local Criminal Rule     CI-3
                    23.1; potential witness in criminal   CI-4     object to unsealing has not yet
258-9     6.28.16     trial and deposition testimony      CI-5                 expired.
                             potential evidence           CI-6    Note: The Original Parties sent
                                                          CI-7   the Non-Party deponent (Doe 67)
                    The Non-Party Notice sent to this            notice of unsealing, and the Non-
                    Doe was returned as undelivered                Party deponent did not request
                          to defense counsel.                                 excerpts.

                                                                    Unseal but redact medical
258-10    6.28.16       No objection to unsealing                         information.

                                                                 Unseal and redact only (1) medical
                       Redact all quotes from Ms.         CI-2
                                                                   information and (2) names and
                        Maxwell and Non-Party             CI-3
                                                                  identifying information of Non-
                    deposition testimony, Non-Party       CI-4
 261      7.1.16                                                    Parties who have objected to
                      identifying information, and        CI-5
                                                                 unsealing or whose time to object
                    argument of counsel violative of      CI-6
                                                                  to unsealing has not yet expired.
                       Local Criminal Rule 23.1.          CI-7
                                                                    Unseal but redact medical
 269      7.8.16        No objection to unsealing                         information.


 270      7.8.16        No objection to unsealing                            Unseal.
                                                                   Note: Original Parties agree.
                                                                  Keep sealed (medical records).

270-1     7.8.16        No objection to unsealing




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         DATE
DOC. #               DEFENDANT’S POSITION               C/I1     PLAINTIFF’S POSITION
         FILED
                                                                     Unseal and redact only (1)
                                                                    medical information and (2)
                                                                       names and identifying
                                                                 information of Non-Parties who
                                                                   have objected to unsealing or
                                                                      whose time to object to
                                                                   unsealing has not yet expired.
                       Redact all Non-Party witness                Note: The full version of this
                                                        CI-1
                          names and identifying                deposition transcript was unsealed
270-2     7.8.16                                        CI-2
                    information - – in same manner as          by this Court on July 30, 2020, DE
                                                        CI-3
                               DE 1090-32                          1090-32. If this excerpt of the
                                                               transcript is unsealed, it should be
                                                                 redacted in the same way as DE
                                                                1090-32, but the redactions of the
                                                               names of Non-Parties whose time
                                                                  to object has expired should be
                                                                             removed.


270-3     7.8.16        No objection to unsealing                 Unseal but redact address.


                                                                           Unseal.
270-4     7.8.16        No objection to unsealing
                                                                 Note: Original Parties agree.


                                                                           Unseal.
270-6     7.8.16        No objection to unsealing
                                                                 Note: Original Parties agree.

                                                                           Unseal.
 272                           Not sealed.
                                                                 Note: Original Parties agree.
                                                                  Unseal and redact only (1)
                                                                 medical information and (2)
                    Keep Sealed – if unsealed, make                 names and identifying
                       any medical information          CI-6   information of Non-Parties who
272-1     7.12.16
                     redactions consistent with the     CI-7     have objected to unsealing or
                            Reply (DE 269)                     whose time to object to unsealing
                                                                     has not yet expired.


                                                                           Unseal.
272-2     7.12.16       No objection to unsealing
                                                                 Note: Original Parties agree.



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         FILED

272-3     7.12.16       No objection to unsealing               Keep sealed (medical records).

                                                                  Unseal but redact medical
272-4     7.12.16       No objection to unsealing
                                                                        information.

272-5     7.12.16    Already publicly filed (DE 45)             Already publicly filed (DE 45).


272-6     7.12.16    Already publicly filed (DE 31)             Already publicly filed (DE 31).
                                                        CI-2
                                                        CI-3   Unseal but redact (1) information
272-7     7.12.16             Keep sealed               CI-4   about Plaintiff when a minor and
                                                        CI-5       (2) medical information.


272-8     7.12.16       No objection to unsealing               Keep sealed (medical records)

                                                                           Unseal.
272-9     7.12.16       No objection to unsealing
                                                                 Note: Original Parties agree.
                                                                     Unseal and redact only (1)
                                                                    medical information and (2)
                                                                       names and identifying
                                                                 information of Non-Parties who
                                                                   have objected to unsealing or
                                                                      whose time to object to
                      Redact all Non-Party witness                 unsealing has not yet expired.
                                                        CI-1       Note: The full version of this
                         names and identifying
272-10    7.12.16                                       CI-2   deposition transcript was unsealed
                    information – in same manner as
                                                        CI-3   by this Court on July 30, 2020, DE
                              DE 1090-32.
                                                                   1090-32. If this excerpt of the
                                                               transcript is unsealed, it should be
                                                                 redacted in the same way as DE
                                                                1090-32, but the redactions of the
                                                               names of Non-Parties whose time
                                                                  to object has expired should be
                                                                             removed.

                       No objection to unsealing – if
                    unseal, make medical information              Unseal but redact medical
 303      7.25.16
                     redactions consistent with Reply                   information.
                                 (DE 269)



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         FILED

                                                                          Unseal.
 304      7.25.16      No objection to unsealing
                                                                Note: Original Parties agree.

                                                                  Unseal but redact medical
304-1     7.25.16      No objection to unsealing
                                                                        information.


304-2     7.25.16      No objection to unsealing               Keep sealed (medical records).


304-3     7.25.16      No objection to unsealing               Keep sealed (medical records).

                                                                  Unseal but redact medical
304-4     7.25.16      No objection to unsealing
                                                                        information.

 313      7.29.16        Already publicly filed


                                                                  Unseal but redact medical
313-1     7.29.16      No objection to unsealing
                                                                        information.

                       Redact all quotes from Ms.
                        Maxwell and Non-Party          CI-1
                    deposition testimony, Non-Party    CI-2
 279      7.13.16                                                      Unseal in full.
                      identifying information, and     CI-3
                    argument of counsel violative of   CI-4
                       Local Criminal Rule 23.1.

                       Redact all quotes from Ms.
                        Maxwell and Non-Party          CI-1
                    deposition testimony, Non-Party    CI-2
 280      7.13.16                                                      Unseal in full.
                      identifying information, and     CI-3
                    argument of counsel violative of   CI-4
                       Local Criminal Rule 23.1.


                                                       CI-1   Unseal and redact only names and
                    Redact all names and identifying   CI-2    identifying information of Non-
280-1     7.13.16   information for Ms. Maxwell and    CI-3      Parties who have objected to
                               Non-Parties             CI-4   unsealing or whose time to object
                                                       CI-6    to unsealing has not yet expired.




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         DATE
DOC. #               DEFENDANT’S POSITION                C/I1     PLAINTIFF’S POSITION
         FILED
                                                                 Unseal subject to Second Circuit
                                                                           redactions.
                                                         CI-1
                                                         CI-2       Note: This document was
                    Keep sealed – release only 2d Cir.           released by the Second Circuit
280-2     7.13.16                                        CI-3
                             DE 283-Ex. 45                                    with
                                                         CI-4
                                                         CI-6    redactions.    The redactions
                                                                should match the Second Circuit
                                                                           redactions.

 288      7.15.16              Not sealed



288-1     7.15.16              Not sealed                                Unseal in full.



288-2     7.15.16              Not sealed                                Unseal in full.


 289      7.18.16              Not sealed


                                                         CI-1
                     Redact identifying information
 290      7.18.16                                        CI-2            Unseal in full.
                          and email address.
                                                         CI-3


 291      7.18.16              Not sealed


291-1     7.18.16   No position. Not sealed at 188-1                     Unseal in full.

                                                         CI-2
                                                         CI-3
291-2     7.18.16             Keep sealed                CI-4            Unseal in full.
                                                         CI-7

                                                                Unseal and redact only names and
                                                         CI-2
                                                                 identifying information of Non-
                                                         CI-3
291-3     7.18.16             Keep sealed                          Parties who have objected to
                                                         CI-4
                                                                unsealing or whose time to object
                                                         CI-7
                                                                 to unsealing has not yet expired.


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           FILED

 300       7.22.16              Not sealed


300-1:2    7.22.16              Not sealed


 337        8.8.16              Not sealed

                                                          CI-1
                                                          CI-3
 338        8.8.16             Keep sealed                CI-4
                                                          CI-6

                       Keep sealed – names of Non-
                       Parties, reliance on Protective
                                                                 Unseal and redact only names and
                     Order & Release of inadmissible
                                                                  identifying information of Non-
                     information in violation of Local
338-1       8.8.16                                                  Parties who have objected to
                       Criminal Rule 23.1; potential
                                                                 unsealing or whose time to object
                        witness in criminal trial and
                                                                  to unsealing has not yet expired.
                      deposition testimony potential
                                   evidence

338-2       8.8.16             Keep sealed                CI-7            Unseal in full.

                       Keep sealed – names of Non-
                                                          CI-1
                       Parties, reliance on Protective
                                                          CI-2   Unseal and redact only names and
                     Order & Release of inadmissible
                                                          CI-3    identifying information of Non-
                     information in violation of Local
338-3       8.8.16                                        CI-4      Parties who have objected to
                       Criminal Rule 23.1; potential
                                                          CI-5   unsealing or whose time to object
                        witness in criminal trial and
                                                          CI-6    to unsealing has not yet expired.
                      deposition testimony potential
                                                          CI-7
                                   evidence
                       Keep sealed – privacy interests
                      and reliance on Protective order;   CI-1   Unseal and redact only names and
                     names of Non-Parties, reliance on    CI-2    identifying information of Non-
338-4       8.8.16     Protective Order & Release of      CI-3      Parties who have objected to
                        inadmissible information in       CI-4   unsealing or whose time to object
                     violation of Local Criminal Rule     CI-7    to unsealing has not yet expired.
                                    23.1;




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DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                                                          CI-1
                                                          CI-2             Unseal in full.
                     Previously released by Second        CI-3       Note: These pages of this
338-5      8.8.16                Circuit                  CI-4       deposition transcript were
                                                          CI-5    released by the Second Circuit
                                                          CI-6          without redactions.
                                                          CI-7
                                                                 Unseal and redact only names and
                                                                  identifying information of Non-
                    Keep sealed – Non-Party reliance      CI-1
                                                                    Parties who have objected to
                    on Protective Order & Release of      CI-2
                                                                 unsealing or whose time to object
                        inadmissible information in       CI-3
                                                                  to unsealing has not yet expired.
338-6      8.8.16    violation of Local Criminal Rule     CI-4
                                                                 Note: The deponent is not on the
                    23.1; potential witness in criminal   CI-5
                                                                     Non-Party notification list
                       trial and deposition potential     CI-6
                                                                  because he is a law enforcement
                                  evidence                CI-7
                                                                               officer.

                    Keep sealed – Non-Party reliance      CI-1
                                                                   Keep sealed until Non-Party
                    on Protective Order & Release of      CI-2
                                                                    deponent (Doe 160) time to
                        inadmissible information in       CI-3
338-7      8.8.16    violation of Local Criminal Rule     CI-4            object expires.
                    23.1; potential witness in criminal   CI-5    Note: Original Parties agree to
                      trial and deposition testimony      CI-6     keep sealed, but for different
                             potential evidence.          CI-7               reasons.

                    Keep sealed – Non-Party reliance      CI-1
                    on Protective Order & Release of      CI-2   Unseal and redact only names and
                        inadmissible information in       CI-3    identifying information of Non-
338-8      8.8.16    violation of Local Criminal Rule     CI-4      Parties who have objected to
                    23.1; potential witness in criminal   CI-5   unsealing or whose time to object
                      trial and deposition testimony      CI-6    to unsealing has not yet expired.
                             potential evidence.          CI-7




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          FILED
                                                                   Unseal and redact only names
                                                                  and identifying information of
                                                                  Non-Parties who have objected
                    Keep sealed – Non-Party reliance      CI-1
                                                                   to unsealing or whose time to
                    on Protective Order & Release of      CI-2
                        inadmissible information in       CI-3    object to unsealing has not yet
338-9      8.8.16    violation of Local Criminal Rule     CI-4                expired.
                    23.1; potential witness in criminal   CI-5    Note: The Original Parties sent
                      trial and deposition testimony      CI-6   the Non-Party deponent (Doe 7)
                             potential evidence.          CI-7   notice of unsealing, and the Non-
                                                                  Party deponent did not request
                                                                             excerpts.


                                                                             Unseal.
338-10     8.8.16       No objection to unsealing
                                                                   Note: Original Parties agree.

                                                                 Unseal and redact only names and
                      Redact all Non-Party witness                identifying information of Non-
                                                          CI-1
 353      8.10.16        names and identifying                      Parties who have objected to
                                                          CI-3
                              information                        unsealing or whose time to object
                                                                  to unsealing has not yet expired.

 375      8.17.16               Not sealed

                                                          CI-1
                                                          CI-2   Unseal and redact only names and
                                                          CI-3    identifying information of Non-
 315      7.29.16              Keep sealed                CI-4      Parties who have objected to
                                                          CI-5   unsealing or whose time to object
                                                          CI-6    to unsealing has not yet expired.

                                                          CI-1
                                                          CI-2   Unseal and redact only names and
                                                          CI-3    identifying information of Non-
 316      7.29.16              Keep sealed                CI-4      Parties who have objected to
                                                          CI-5   unsealing or whose time to object
                                                          CI-6    to unsealing has not yet expired.




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DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                    Keep sealed – Non-Party reliance
                                                          CI-2     Keep sealed until Non-Party
                    on Protective Order & Release of
                                                          CI-3      deponent (Doe 160) time to
                        inadmissible information in
                                                          CI-4            object expires.
316-1     7.29.16    violation of Local Criminal Rule
                    23.1; potential witness in criminal
                                                          CI-5    Note: Original Parties agree to
                      trial and deposition testimony
                                                          CI-6     keep sealed, but for different
                             potential evidence.
                                                          CI-7               reasons.

                    Keep sealed – Non-Party reliance
                                                                 Unseal and redact only names and
                    on Protective Order & Release of
                                                                  identifying information of Non-
                        inadmissible information in
                                                          CI-2      Parties who have objected to
                     violation of Local Criminal Rule
                                                          CI-3   unsealing or whose time to object
                    23.1; potential witness in criminal
                                                          CI-4    to unsealing has not yet expired.
316-2     7.29.16     trial and deposition testimony
                                                          CI-5     Note: The Original Parties sent
                             potential evidence.
                                                          CI-6   the Non-Party deponent (Doe 67)
                                                          CI-7   notice of unsealing, and the Non-
                    The Non-Party Notice sent to this
                                                                   Party deponent did not request
                    Doe was returned as undelivered
                                                                              excerpts.
                          to defense counsel.
                                                          CI-2
                                                                           Unseal in full.
                                                          CI-3
                                                                     Note: These pages of this
                     Previously released by Second        CI-4
316-3     7.29.16                                                    deposition transcript were
                                 Circuit                  CI-5
                                                                  released by the Second Circuit
                                                          CI-6
                                                                        without redactions.
                                                          CI-7
                                                          CI-2
                                                          CI-3             Unseal in full.
                                                          CI-4       Note: These pages of this
                     Previously released by Second
316-4     7.29.16                                         CI-5       deposition transcript were
                                 Circuit
                                                          CI-6    released by the Second Circuit
                                                          CI-7          without redactions.


                                                          CI-2
                                                                           Unseal in full.
                                                          CI-3
                                                                     Note: These pages of this
                     Previously released by Second        CI-4
316-5     7.29.16                                                    deposition transcript were
                                 Circuit                  CI-5
                                                                  released by the Second Circuit
                                                          CI-6
                                                                        without redactions.
                                                          CI-7




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DOC. #               DEFENDANT’S POSITION                C/I1     PLAINTIFF’S POSITION
          FILED
                                                                Unseal and redact only names and
                    Keep sealed – The parties agreed             identifying information of Non-
                     to appropriate redactions and the             Parties who have objected to
316-6     7.29.16                                        CI-1
                    redacted version of the Order was           unsealing or whose time to object
                            filed at DE 264-1.                   to unsealing has not yet expired.

                      Keep sealed – privacy interests
                                                         CI-2
                     and reliance on Protective order;          Unseal and redact only names and
                                                         CI-3
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-4
316-7     7.29.16     Protective Order & Release of                Parties who have objected to
                                                         CI-5
                       inadmissible information in              unsealing or whose time to object
                                                         CI-6
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                                                         CI-7
                                   23.1;
                                                                    Unseal and redact only (1)
                                                                       names and identifying
                                                                  information of minors and (2)
                        Keep sealed any pages not                      names and identifying
                     previously released by Second       CI-1       information of Non-Parties
                     Circuit – Non-Party reliance on     CI-2    who have objected to unsealing
                     Protective Order & Release of       CI-3        or whose time to object to
316-8     7.29.16      inadmissible information in       CI-4     unsealing has not yet expired.
                    violation of Local Criminal Rule     CI-5    Note: Portions of this document
                       23.1; potential witnesses in      CI-6   were redacted and released by the
                       criminal case and exhibit is             Second Circuit. The redactions of
                           potential evidence.                     the portions already released
                                                                should match the Second Circuit
                                                                            redactions.

                      Keep sealed – privacy interests
                     and reliance on Protective order;          Unseal and redact only names and
                                                         CI-1
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-2
 339       8.8.16     Protective Order & Release of                Parties who have objected to
                                                         CI-3
                       inadmissible information in              unsealing or whose time to object
                                                         CI-4
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                                   23.1;




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          DATE
DOC. #               DEFENDANT’S POSITION                C/I1     PLAINTIFF’S POSITION
          FILED
                      Keep sealed – privacy interests
                     and reliance on Protective order;          Unseal and redact only names and
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-1
 340       8.8.16     Protective Order & Release of                Parties who have objected to
                                                         CI-4
                       inadmissible information in              unsealing or whose time to object
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                                   23.1;
                                                                   Unseal and redact only names
                                                                  and identifying information of
                                                                  Non-Parties who have objected
                                                                    to unsealing or whose time to
                                                                  object to unsealing has not yet
                                                                               expired.
                                                                     Note: The full version of this
                       Keep sealed – in manner           CI-1   deposition transcript was unsealed
340-1      8.8.16                                               by this Court on July 30, 2020, DE
                      consistent with DE 1090-32         CI-4
                                                                    1090-32. If this excerpt of the
                                                                transcript is unsealed, it should be
                                                                  redacted in the same way as DE
                                                                 1090-32, but the redactions of the
                                                                names of Non-Parties whose time
                                                                   to object has expired should be
                                                                              removed.

                      Keep sealed – privacy interests    CI-1
                     and reliance on Protective order;   CI-2   Unseal and redact only names and
                    names of Non-Parties, reliance on    CI-3    identifying information of Non-
340-3      8.8.16     Protective Order & Release of      CI-4      Parties who have objected to
                       inadmissible information in       CI-5   unsealing or whose time to object
                    violation of Local Criminal Rule     CI-6    to unsealing has not yet expired.
                                   23.1;                 CI-7

                      Keep sealed – privacy interests
                                                         CI-1
                     and reliance on Protective order;          Unseal and redact only names and
                                                         CI-2
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-3
340-4                 Protective Order & Release of                Parties who have objected to
                                                         CI-4
                       inadmissible information in              unsealing or whose time to object
                                                         CI-5
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                                                         CI-6
                                   23.1;




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          DATE
DOC. #              DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                   Keep sealed – Non-Party reliance
                   on Protective Order & Release of      CI-2     Keep sealed until Non-Party
                       inadmissible information in       CI-3      deponent (Doe 160) time to
                    violation of Local Criminal Rule     CI-4            object expires.
340-5
                   23.1; potential witness in criminal   CI-5    Note: Original Parties agree to
                      case and deposition potential      CI-6     keep sealed, but for different
                                evidence.                CI-7               reasons.

                                                                 Unseal and redact only names
                                                                 and identifying information of
                   Keep sealed – Non-Party reliance              Non-Parties who have objected
                                                         CI-2
                   on Protective Order & Release of              to unsealing or whose time to
                                                         CI-3
                       inadmissible information in
                                                         CI-4    object to unsealing has not yet
340-6               violation of Local Criminal Rule
                                                         CI-5               expired.
                   23.1; potential witness in criminal          Note: The deponent is not on the
                                                         CI-6
                      trial and deposition potential               Non-Party notification list
                                                         CI-7
                                 exhibit.                       because he is a law enforcement
                                                                             officer.

                                                                 Unseal and redact only names
                                                                 and identifying information of
                                                                 Non-Parties who have objected
                   Keep sealed – Non-Party reliance
                                                                  to unsealing or whose time to
                   on Protective Order & Release of
                      inadmissible information in        CI-2    object to unsealing has not yet
                   violation of Local Criminal Rule      CI-3                 expired.
                       23.1; ; potential witness in      CI-4    Note: The Original Parties sent
340-7                                                           the Non-Party deponent (Doe 1)
                     criminal case and deposition        CI-5
                           potential evidence.           CI-6     notice of unsealing, the Non-
                                                         CI-7       Party deponent requested
                   Non-Party requested that name be                excerpts, and the Non-Party
                           kept under seal.                         deponent did not object to
                                                                 unsealing within two weeks of
                                                                      receiving the excerpts.




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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                    Keep sealed – Non-Party reliance
                    on Protective Order & Release of             Unseal and redact only names and
                       inadmissible information in                identifying information of Non-
                    violation of Local Criminal Rule      CI-2      Parties who have objected to
                    23.1; The Non-Party Notice sent       CI-3   unsealing or whose time to object
                       to this Doe was returned as        CI-4    to unsealing has not yet expired.
340-8
                     undelivered to defense counsel.      CI-5     Note: The Original Parties sent
                                                          CI-6   the Non-Party deponent (Doe 67)
                    The Non-Party Notice sent to this     CI-7   notice of unsealing, and the Non-
                    Doe was returned as undelivered                Party deponent did not request
                          to defense counsel.                                 excerpts.

                    Keep sealed – Non-Party reliance
                                                          CI-2     Keep sealed until Non-Party
                    on Protective Order & Release of
                                                          CI-3      deponent (Doe 151) time to
                        inadmissible information in
                                                          CI-4            object expires.
340-9      8.8.16    violation of Local Criminal Rule
                    23.1; potential witness in criminal
                                                          CI-5    Note: Original Parties agree to
                       case and deposition potential
                                                          CI-6     keep sealed, but for different
                                 evidence.
                                                          CI-7               reasons.

                      Keep sealed – privacy interests
                                                          CI-1
                     and reliance on Protective order;           Unseal and redact only names and
                                                          CI-2
                    names of Non-Parties, reliance on             identifying information of Non-
                                                          CI-3
 368      8.12.16     Protective Order & Release of                 Parties who have objected to
                                                          CI-4
                       inadmissible information in               unsealing or whose time to object
                                                          CI-5
                    violation of Local Criminal Rule              to unsealing has not yet expired.
                                                          CI-6
                             23.1;Keep sealed

                      Keep sealed – privacy interests
                                                          CI-1
                     and reliance on Protective order;           Unseal and redact only names and
                                                          CI-2
                    names of Non-Parties, reliance on             identifying information of Non-
                                                          CI-3
 369      8.12.16     Protective Order & Release of                 Parties who have objected to
                                                          CI-4
                       inadmissible information in               unsealing or whose time to object
                                                          CI-5
                    violation of Local Criminal Rule              to unsealing has not yet expired.
                                                          CI-6
                             23.1;Keep sealed




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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                                                                   Unseal and redact only names
                                                                   and identifying information of
                                                                  Non-Parties who have objected
                                                                   to unsealing or whose time to
                      Keep sealed – privacy interests     CI-1     object to unsealing has not yet
                     and reliance on Protective order;    CI-2                expired.
                    names of Non-Parties, reliance on     CI-3    Note: This deposition transcript
369-1     8.12.16     Protective Order & Release of       CI-4   was unsealed on October 22, 2020,
                       inadmissible information in        CI-5      DE 1137-13. This document
                    violation of Local Criminal Rule      CI-6     should be redacted in the same
                                   23.1;                  CI-7      way as DE 1137-13, but the
                                                                  redactions of the names of Non-
                                                                  Parties whose time to object has
                                                                    expired should be removed.

                                                                 Unseal and redact only names and
                    Keep sealed – The parties agreed              identifying information of Non-
                     to appropriate redactions and the              Parties who have objected to
369-2     8.12.16                                         CI-1
                    redacted version of the Order was            unsealing or whose time to object
                            filed at DE 264-1.                    to unsealing has not yet expired.

                      Keep sealed – privacy interests
                                                          CI-1
                     and reliance on Protective order;           Unseal and redact only names and
                                                          CI-2
                    names of Non-Parties, reliance on             identifying information of Non-
                                                          CI-3
369-3     8.12.16     Protective Order & Release of                 Parties who have objected to
                                                          CI-4
                       inadmissible information in               unsealing or whose time to object
                                                          CI-5
                    violation of Local Criminal Rule              to unsealing has not yet expired.
                                                          CI-6
                                   23.1;
                    Keep sealed – Non-Party reliance               Unseal and redact only names
                    on Protective Order & Release of               and identifying information of
                        inadmissible information in               Non-Parties who have objected
                                                          CI-2
                     violation of Local Criminal Rule               to unsealing or whose time to
                                                          CI-3
                    23.1; potential witness in criminal
                                                          CI-4     object to unsealing has not yet
369-4     8.12.16      trial and deposition potential
                                                          CI-5                 expired.
                                  exhibit.                        Note: The Original Parties sent
                                                          CI-6
                                                          CI-7   the Non-Party deponent (Doe 67)
                    The Non-Party Notice sent to this            notice of unsealing, and the Non-
                    Doe was returned as undelivered                Party deponent did not request
                          to defense counsel.                                 excerpts.




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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1    PLAINTIFF’S POSITION
          FILED
                    Keep sealed – Non-Party reliance
                                                          CI-2    Keep sealed until Non-Party
                    on Protective Order & Release of
                                                          CI-3     deponent (Doe 160) time to
                        inadmissible information in
369-5     8.12.16    violation of Local Criminal Rule
                                                          CI-4           object expires.
                    23.1; potential witness in criminal
                                                          CI-5   Note: Original Parties agree to
                       trial and deposition potential
                                                          CI-6    keep sealed, but for different
                                  exhibit.
                                                          CI-7              reasons.

                                                                 Unseal subject to Second Circuit
                                                                            redactions.
                                                          CI-2
                                                                    Note: These pages of this
                                                          CI-3
                                                                    deposition transcript were
                     Release consistent with Second       CI-4
369-6     8.12.16                                                released by the Second Circuit
                          Circuit’s redactions.           CI-5
                                                                  without redactions, except for
                                                          CI-6
                                                                     page 59 which contains
                                                          CI-7
                                                                  redactions of a minor’s name.

                                                          CI-2
                                                                          Unseal in full.
                                                          CI-3
                                                                    Note: These pages of this
                     Release consistent with Second       CI-4
369-7     8.12.16                                                   deposition transcript were
                                Circuit                   CI-5
                                                                 released by the Second Circuit
                                                          CI-6
                                                                       without redactions.
                                                          CI-7
                                                          CI-2
                                                                          Unseal in full.
                                                          CI-3
                                                                    Note: These pages of this
                     Release consistent with Second       CI-4
369-8     8.12.16                                                   deposition transcript were
                                Circuit                   CI-5
                                                                 released by the Second Circuit
                                                          CI-6
                                                                       without redactions.
                                                          CI-7
                                                          CI-2
                                                          CI-3            Unseal in full.
                     Release consistent with Second       CI-4      Note: This document was
369-9     8.12.16
                                Circuit                   CI-5   released by the Second Circuit
                                                          CI-6         without redactions.
                                                          CI-7
                                                          CI-2
                                                          CI-6
369-10    8.12.16              Keep sealed
                                                          CI-7           Unseal in full.




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          DATE
DOC. #               DEFENDANT’S POSITION                  C/I1        PLAINTIFF’S POSITION
          FILED
                                                                     Unseal and redact only names
                                                                     and identifying information of
                    Keep sealed – Non-Party reliance                 Non-Parties who have objected
                                                           CI-2
                    on Protective Order & Release of                 to unsealing or whose time to
                                                           CI-3
                        inadmissible information in
                                                           CI-4      object to unsealing has not yet
369-11    8.12.16    violation of Local Criminal Rule
                                                           CI-5                 expired.
                    23.1; potential witness in criminal             Note: The deponent is not on the
                                                           CI-6
                      trial and deposition testimony                   Non-Party notification list
                                                           CI-7
                             potential evidence.                    because he is a law enforcement
                                                                                 officer.

                                                                      Unseal and redact only names
                                                                      and identifying information of
                    Keep sealed – Non-Party reliance
                                                                      Non-Parties who have objected
                    on Protective Order & Release of
                                                           CI-2        to unsealing or whose time to
                        inadmissible information in
                     violation of Local Criminal Rule
                                                           CI-3       object to unsealing has not yet
369-12    8.12.16   23.1; potential witness in criminal
                                                           CI-4                   expired.
                                                           CI-5       Note: The Original Parties sent
                      trial and deposition testimony
                                                           CI-6       the Non-Party deponent (Doe
                             potential evidence.
                                                           CI-7      145) notice of unsealing, and the
                      Unknown whether received the
                                  Notice.                               Non-Party deponent did not
                                                                             request excerpts.

                                                                    Unseal and redact only names and
                    Keep sealed – Non-Party reliance                 identifying information of Non-
                    on Protective Order & Release of                    Parties who have objected to
                                                           CI-2
                        inadmissible information in                 unsealing or whose time to object
                                                           CI-3
                     violation of Local Criminal Rule                to unsealing has not yet expired.
                                                           CI-4
369-13    8.12.16   23.1; potential witness in criminal               Note: The Original Parties sent
                                                           CI-5
                      trial and deposition testimony                   the Non-Party deponent (Doe
                                                           CI-6
                             potential evidence.                    155) notice of unsealing, and the
                                                           CI-7
                      Unknown whether received the                      Non-Party deponent did not
                                   Notice                                     request excerpts.

                                                                   Unseal and redact only names and
                    Keep sealed – Non-Party reliance                identifying information of Non-
                                                          CI-2
                    on Protective Order & Release of                  Parties who have objected to
                                                          CI-3
                        inadmissible information in
                                                          CI-4     unsealing or whose time to object
369-14    8.12.16    violation of Local Criminal Rule
                                                          CI-5      to unsealing has not yet expired.
                    23.1; potential witness in criminal
                                                          CI-6    Note: The Original Parties sent the
                      trial and deposition testimony
                                                          CI-7    Non-Party deponent (Doe 99) notice
                             potential evidence.                    of unsealing, and the Non-Party
                                                                   deponent did not request excerpts.


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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                                                                  Unseal and redact only names
                                                                  and identifying information of
                                                                  Non-Parties who have objected
                    Keep sealed – Non-Party reliance
                                                          CI-2     to unsealing or whose time to
                    on Protective Order & Release of
                        inadmissible information in
                                                          CI-3    object to unsealing has not yet
369-15    8.12.16    violation of Local Criminal Rule
                                                          CI-4                expired.
                    23.1; potential witness in criminal
                                                          CI-5    Note: The Original Parties sent
                      trial and deposition testimony
                                                          CI-6    the Non-Party deponent (Doe
                             potential evidence.
                                                          CI-7   122) notice of unsealing, and the
                                                                    Non-Party deponent did not
                                                                         request excerpts.

                                                                  Unseal and redact only names
                    Keep sealed – Non-Party reliance              and identifying information of
                                                          CI-2
                    on Protective Order & Release of              Non-Parties who have objected
                                                          CI-3
                        inadmissible information in               to unsealing or whose time to
                                                          CI-4
369-16    8.12.16    violation of Local Criminal Rule
                                                          CI-5    object to unsealing has not yet
                    23.1; potential witness in criminal
                                                          CI-6                expired.
                      trial and deposition testimony               Note: Non-Party deponent is
                                                          CI-7
                             potential evidence.                             deceased.


                       Keep redacted the names and               Unseal and redact only names and
                      identifying information of Ms.      CI-1    identifying information of Non-
 320       8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation          unsealing or whose time to object
                       of Local Criminal Rule 23.1                to unsealing has not yet expired.


                       Keep redacted the names and
                      identifying information of Ms.
 321       8.1.16      Maxwell and all Non-Parties;              Retain redaction of email address.
                    release of information in violation
                       of Local Criminal Rule 23.1

                       Keep redacted the names and        CI-1   Unseal and redact only names and
                      identifying information of Ms.      CI-2    identifying information of Non-
321-1      8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation   CI-4   unsealing or whose time to object
                       of Local Criminal Rule 23.1        CI-6    to unsealing has not yet expired.




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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED

                       Keep redacted the names and        CI-1   Unseal and redact only names and
                      identifying information of Ms.      CI-2    identifying information of Non-
321-2      8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation   CI-4   unsealing or whose time to object
                       of Local Criminal Rule 23.1        CI-6    to unsealing has not yet expired.

                       Keep redacted the names and        CI-1   Unseal and redact only names and
                      identifying information of Ms.      CI-2    identifying information of Non-
321-3      8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation   CI-4   unsealing or whose time to object
                       of Local Criminal Rule 23.1        CI-6    to unsealing has not yet expired.

                       Keep redacted the names and        CI-1   Unseal and redact only names and
                      identifying information of Ms.      CI-2    identifying information of Non-
321-4      8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation   CI-4   unsealing or whose time to object
                       of Local Criminal Rule 23.1        CI-6    to unsealing has not yet expired.

                       Keep redacted the names and        CI-1   Unseal and redact only names and
                      identifying information of Ms.      CI-2    identifying information of Non-
321-5      8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation   CI-4   unsealing or whose time to object
                       of Local Criminal Rule 23.1        CI-6    to unsealing has not yet expired.

                       Keep redacted the names and        CI-1   Unseal and redact only names and
                      identifying information of Ms.      CI-2    identifying information of Non-
321-6      8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation   CI-4   unsealing or whose time to object
                       of Local Criminal Rule 23.1        CI-6    to unsealing has not yet expired.


 322       8.1.16               Not sealed


                       Keep redacted the names and        CI-1   Unseal and redact only names and
                      identifying information of Ms.      CI-2    identifying information of Non-
 323       8.1.16      Maxwell and all Non-Parties;       CI-3      Parties who have objected to
                    release of information in violation   CI-4   unsealing or whose time to object
                       of Local Criminal Rule 23.1        CI-6    to unsealing has not yet expired


 329       8.2.16              Not Sealed




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          FILED
                                                             Unseal but redact information
                     No objection to unsealing. –
 335       8.8.16                                           about events when Plaintiff was
                     Publicly available documents
                                                                     minor child.

                                                                       Unseal.
 336       8.8.16     No objection to unsealing.
                                                             Note: Original Parties agree.

                                                                       Unseal.
336-1      8.8.16     No objection to unsealing.
                                                             Note: Original Parties agree.

                                                             Unseal but redact information
336-2      8.8.16     No objection to unsealing.            about events when Plaintiff was
                                                                     minor child.

                                                                       Unseal.
336-3      8.8.16     No objection to unsealing
                                                             Note: Original Parties agree.

                     No objection to unsealing –             Unseal but redact information
 380      8.18.16   information based on publicly           about events when Plaintiff was
                         available documents                         minor child.

                                                                       Unseal.
 381      8.18.16     No objection to unsealing.
                                                             Note: Original Parties agree.

                                                            Keep sealed (information about
                     No objection to unsealing -
381-1      8.8.16                                           events when Plaintiff was minor
                    Publicly available documents.
                                                                        child).

                                                            Keep sealed (information about
                     No objection to unsealing -
381-2      8.8.16                                           events when Plaintiff was minor
                    Publicly available documents.
                                                                        child).

                                                            Keep sealed (information about
                    No objection to unsealing - –
381-3      8.8.16                                           events when Plaintiff was minor
                    Publicly available documents.
                                                                        child).

                     No objection to unsealing –           Unseal redacted version released
381-4      8.8.16    Redacted version released by          by Second Circuit. Note: Original
                           Second Circuit                           Parties agree.




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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED

                      No objection to unsealing –                Unseal redacted version released
381-5      8.8.16     Redacted version released by                     by Second Circuit.
                            Second Circuit                        Note: Original Parties agree.

                                                                   Unseal but redact telephone
                      No objection to unsealing - –
381-6      8.8.16                                                 numbers, email addresses, and
                      Publicly available documents
                                                                           addresses.

                      No objection to unsealing –                Unseal redacted version released
381-7      8.8.16     Redacted version released by                     by Second Circuit.
                            Second Circuit                        Note: Original Parties agree.

                                                                 Unseal and redact only names and
                                                                  identifying information of Non-
                       No objection to unsealing -
381-8      8.8.16                                                   Parties who have objected to
                      Publicly available documents
                                                                 unsealing or whose time to object
                                                                  to unsealing has not yet expired.
                                                          CI-1
                                                          CI-2
                    Keep Sealed – Information based                Unseal but redact information
                                                          CI-3
 392      8.23.16       on – Publicly available                   about events when Plaintiff was
                                                          CI-4
                              documents                                    minor child.
                                                          CI-5
                                                          CI-6

                       Keep redacted the names and        CI-1
                                                                 Unseal and redact only names and
                      identifying information of Ms.      CI-2
                                                                  identifying information of Non-
                       Maxwell and all Non-Parties;       CI-3
 393      8.23.16                                                   Parties who have objected to
                    release of information in violation   CI-4
                                                                 unsealing or whose time to object
                          of Local Criminal Rule          CI-5
                                                                  to unsealing has not yet expired.
                                23.1Redact -              CI-6
                                                                  Unseal subject to Second Circuit
                                                                             redactions.
                                                          CI-2
                                                                    Note: These pages of these
                                                          CI-3
                                                                   deposition transcripts were all
                     Unseal consistent with Second        CI-4
393-1     8.23.16                                                 released by the Second Circuit
                          Circuit redactions              CI-5
                                                                   without redactions, except for
                                                          CI-6
                                                                 page 24 of the composite exhibit,
                                                          CI-7
                                                                     where the Second Circuit
                                                                     redacted a minor’s name.




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          DATE
DOC. #               DEFENDANT’S POSITION                C/I1     PLAINTIFF’S POSITION
          FILED
                                                         CI-2
                                                         CI-3             Unseal in full.
                     Release consistent with Second      CI-4       Note: This document was
393-2     8.23.16
                                Circuit                  CI-5    released by the Second Circuit
                                                         CI-6          without redactions.
                                                         CI-7
                      Keep sealed – privacy interests
                                                         CI-1
                     and reliance on Protective order;          Unseal and redact only names and
                                                         CI-2
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-3
393-3     8.23.16     Protective Order & Release of                Parties who have objected to
                                                         CI-4
                       inadmissible information in              unsealing or whose time to object
                                                         CI-5
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                                                         CI-7
                                   23.1;

                      Keep sealed – privacy interests
                                                         CI-1
                     and reliance on Protective order;          Unseal and redact only names and
                                                         CI-2
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-3
393-4     8.23.16     Protective Order & Release of                Parties who have objected to
                                                         CI-4
                       inadmissible information in              unsealing or whose time to object
                                                         CI-5
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                                                         CI-7
                                   23.1;

                      Keep sealed – privacy interests
                     and reliance on Protective order;          Unseal and redact only names and
                                                         CI-1
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-2
 400      8.25.16     Protective Order & Release of                Parties who have objected to
                                                         CI-3
                       inadmissible information in              unsealing or whose time to object
                                                         CI-4
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                             23.1;Keep sealed

                      Keep sealed – privacy interests
                     and reliance on Protective order;          Unseal and redact only names and
                                                         CI-1
                    names of Non-Parties, reliance on            identifying information of Non-
                                                         CI-2
 401      8.25.16     Protective Order & Release of                Parties who have objected to
                                                         CI-3
                       inadmissible information in              unsealing or whose time to object
                                                         CI-4
                    violation of Local Criminal Rule             to unsealing has not yet expired.
                             23.1;Keep sealed




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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                      Keep sealed – privacy interests
                     and reliance on Protective order;    CI-1   Unseal and redact only names and
                    names of Non-Parties, reliance on     CI-2    identifying information of Non-
401-1     8.25.16     Protective Order & Release of       CI-3      Parties who have objected to
                       inadmissible information in        CI-4   unsealing or whose time to object
                    violation of Local Criminal Rule      CI-5    to unsealing has not yet expired.
                                   23.1;

                      Keep sealed – privacy interests
                     and reliance on Protective order;    CI-1   Unseal and redact only names and
                    names of Non-Parties, reliance on     CI-2    identifying information of Non-
401-2     8.25.16     Protective Order & Release of       CI-3      Parties who have objected to
                       inadmissible information in        CI-4   unsealing or whose time to object
                    violation of Local Criminal Rule      CI-5    to unsealing has not yet expired.
                                   23.1;

                                                          CI-2
                                                                           Unseal in full.
                                                          CI-3
                                                                     Note: These pages of this
                     Release consistent with Second       CI-4
401-3     8.25.16                                                    deposition transcript were
                                Circuit                   CI-5
                                                                  released by the Second Circuit
                                                          CI-6
                                                                        without redactions.
                                                          CI-7

                    Keep sealed – Non-Party reliance
                                                          CI-2     Keep sealed until Non-Party
                    on Protective Order & Release of
                                                          CI-3      deponent (Doe 160) time to
                        inadmissible information in
                                                          CI-4            object expires
401-4     8.25.16    violation of Local Criminal Rule
                    23.1; potential witness in criminal
                                                          CI-5    Note: Original Parties agree to
                      trial and deposition testimony
                                                          CI-6     keep sealed, but for different
                             potential evidence.
                                                          CI-7               reasons.

                                                                 Unseal and redact only names and
                                                                  identifying information of Non-
                                                                    Parties who have objected to
                    Keep sealed – Non-Party reliance             unsealing or whose time to object
                                                          CI-2
                    on Protective Order & Release of              to unsealing has not yet expired.
                                                          CI-3
                        inadmissible information in                Note: The Original Parties sent
                                                          CI-4
401-5     8.25.16    violation of Local Criminal Rule             the Non-Party deponent (Doe 1)
                                                          CI-5
                    23.1; potential witness in criminal             notice of unsealing, the Non-
                                                          CI-6
                      trial and deposition testimony                  Party deponent requested
                                                          CI-7
                             potential evidence.                    excerpts, and the Non-Party
                                                                     deponent did not object to
                                                                   unsealing within two weeks of
                                                                        receiving the excerpts


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          DATE
DOC. #               DEFENDANT’S POSITION                 C/I1     PLAINTIFF’S POSITION
          FILED
                    Keep sealed – Non-Party reliance
                                                                 Unseal and redact only names and
                    on Protective Order & Release of
                                                                  identifying information of Non-
                        inadmissible information in
                                                          CI-2      Parties who have objected to
                     violation of Local Criminal Rule
                                                          CI-3   unsealing or whose time to object
                    23.1; potential witness in criminal
                                                          CI-4    to unsealing has not yet expired.
401-6     8.25.16      trial and deposition potential
                                                          CI-5     Note: The Original Parties sent
                                  evidence.
                                                          CI-6   the Non-Party deponent (Doe 67)
                                                          CI-7   notice of unsealing, and the Non-
                    The Non-Party Notice sent to this
                                                                   Party deponent did not request
                    Doe was returned as undelivered
                                                                              excerpts.
                          to defense counsel.




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